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 8                                  UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                         Case No. 2:09-CR-422 WBS
12                  Plaintiff,                         STIPULATION TO CONTINUE STATUS
                                                       CONFERENCE/CHANGE OF PLEA
13          v.
14   TEAONA WILLIAMS,
15                  Defendant(s).
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18                                     REASONS FOR REQUEST

19          This matter is set for a status conference/change of plea on July 11, 2011. The parties

20   have conferred regarding the prior expressed concerns of the Court regarding the original plea

21   agreement. The parties have revised the factual basis of the plea to make more clear the

22   circumstances surrounding the crime to which Ms. Williams intends to plead guilty. However,

23   the trial in the matter of U.S. v. Egiazarian, et al, 2:08-CR-427, which was to end on June 29,

24   2011, was unexpectedly extended to and including July 5, 2011, and the jury in that case is

25   currently deliberating. AUSA Jean M. Hobler is counsel for the government in the Egiazarian

26   case as well as this case, and anticipates the jury may deliberate well into the next week. Thus,

27   the parties have had insufficient time to complete all discussions relating to the upcoming change

28   of plea and additionally anticipate that the plea hearing may well be disrupted in the event of jury


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 1   questions or a verdict in the Egiazarian case, if held as currently scheduled. To permit full
 2   discussion of the parties in advance of the change of plea, in the best interests of the defendant,
 3   and rather than disrupt the Court’s criminal calendar or require Ms. Williams’ presence with the
 4   distinct likelihood that she may not be able to enter her plea on July 11, 2011, through no fault of
 5   her own, the parties stipulate and agree that the interests of justice outweigh the interests of the
 6   public and the defendant in a speedy trial.
 7          Therefore, the parties request the Court continue the status conference/change of plea to is
 8   July 25, 2011 at 8:30 a.m. This requested continuance will not prejudice either party and is
 9   hereby made with the intention of aiding the Court in this dispositional process.
10                                                 STIPULATION
11          For the reasons set forth above, it is hereby stipulated by and between the parties hereto
12   through their respective counsel that the date presently scheduled for the next appearance in this
13   case be continued from Monday, July 11, 2011 at 8:30 a.m. to Monday, July 25, 2011 at 8:30
14   a.m. for status/entry of plea.
15          The parties further stipulate that all time included in this continuance be excluded under
16   the Speedy Trial Act, pursuant to 18 U.S.C. Section 3161(h)(8)(B)(ii) (Local Codes T2 and T4)
17   through February 8, 2011, on the ground that the case is unusual and complex within the meaning
18   of the Speedy Trial Act, and for defense preparation all pursuant to 18 U.S.C. Section
19   3161(h)(8)(B)(ii) and (iv)(Local Codes T2 and T4).
20
     Dated: July 8, 2011                                    BENJAMIN B. WAGNER
21                                                          United States Attorney
22                                                  By:     /s/ Jean M. Hobler
                                                            Assistant U.S. Attorney
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24
                                                            /s/ Robert M. Holley (by JMH)
25                                                          MR. ROBERT M. HOLLEY, Esq.
                                                            Counsel for Ms. Williams
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 1                                                 ORDER
 2          GOOD CAUSE APPEARING, the above calendaring change with respect to the
 3   defendant’s scheduled status conference/entry of plea, with the stipulated provisions for exclusion
 4   of time under the Federal Speedy Trial Act. The Court finds the ends of justice outweigh the
 5   interests of the public and the defendant in a speedy trial.
 6          IS SO ORDERED.
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            Dated: July 8, 2011
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